

ORDER

PER CURIAM:
AND NOW, this 13th day of November, 1998, Bettyjo Theresa Jones, a/k/a Betty Jones-Terrell, having been suspended from the practice of law in the District of Columbia for a period of sixty days by Order of the District of Columbia Court of Appeals dated May 28, 1998; the said Bettyjo Theresa Jones, a/k/a Betty Jones-Terrell, having been directed on September 11, 1998, to inform this Court of any claim she has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Bettyjo Theresa Jones, a/k/a Betty Jones-Terrell, is suspended from the practice of law in this Commonwealth for a period of sixty days, and she shall comply with all the provisions of Rule 217, Pa.R.D.E.
